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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )
vs.                                                 )               17-CR-2778 MCA
                                                    )
KLAYTON WIMBERLY,                                   )
                                                    )
                      Defendant.                    )



        ORDER GRANTING MOTION FOR PSYCHOLOGICAL EVALUATION
           AND FOR PAYMENT UNDER THE CRIMINAL JUSTICE ACT


       THIS MATTER is before the Court on the Motion for Psychological Evaluation to

determine competency to stand trial and for Payment under the Criminal Justice Act, and having

read the motion and being otherwise fully advised in the premises, the Court finds that the

Motion is well taken and should be GRANTED.

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

       1.      Defendant Klayton Wimberly undergo a psychological evaluation to determine

competency to stand trial.

       2.      The Competency Evaluation is to be conducted by Dr. Mercedes Marshalll, Ph.D.

       3.      The Court authorizes the Defendant to submit the expert invoice to the Court

under the Criminal Justice Act.


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                                             HON. CHRISTINA ARMIJO
                                             Chief United States District Court Judge
